Case 2:22-cv-02107-DGC Document 22 Filed 12/30/22 Page 1 of 13

LO

THIS DOCUMENT IS NOT IN PROPER FORM ACCORDING
JO FEDERAL ANIWOR LOCAL RULES AND PRACTICES

AND IS SUBJECT TO REJECTION BY THE COURT.

COLD 47 (all)
(ule Number/fection)

REFERENCE

Vv; FILED

____ RECEIVED

DEC 30 2022

GLERK U §

—

LODGED
COPY

UAT
ONA

aed
DEPUTY

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF ARIZONA

UNITED STATES OF AMERICA,
Plaintiff.)
v.

DOUGLAS A. DUCEY, in his official
capacity as Governor of the State of
Arizona; THE STATE OF ARIZONA;
ARIZONA DEPARTMENT OF
EMERGENCY AND MILITARY
AFFAIRS; KERRY L.
MUEHLENBECK, in her official
capacity as Adjutant General, Arizona
Department of Emergency and Military
Affairs; and ALLEN CLARK, in his
official capacity as Director of the
Arizona Division of Emergency
Management, Arizona Department of
Emergency and Military Affairs,
Defendants.

EMANUEL MCCRAY, on behalf of
himself and all others similarly situated,

Intervenors-Defendants.

Nee ee Oe eee eee ae fe (eee lee le fe Be SS

MOTION TO DISMISS
to Rule 12(b)(6), Fed. R.
Civ. P. and “Political Question

Pursuant

) Case No.: 2:22-ev-02107-SMB

PROPOSED

Doctrine”

Case 2:22-cv-02107-DGC Document 22 Filed 12/30/22 Page 2 of 13

Pursuant to Federal Rules of Civil Procedure 12(b)(6) and the “political
question doctrine”, Proposed Intervenors-Defendants move for an order dismissing
plaintiffs’ complaint challenging Arizona’s choice of remedies to abate a “criminal
nuisance” involving the use of federal lands entrusted to Plaintiffs officers and
employees, including President Biden, to commit a multiplicity of crimes including
drug running and human trafficking. A supporting memorandum accompanies this
motion.

Respectfully submitted this 25" day of December 2022.
Chanuk WeCnray,

Emanuel McCray 7

2700 Caples Street

P.O. Box 3134

Vancouver, WA 98668

(564) 208-7576
emanuel.mccray@hotmail.com

il

Case 2:22-cv-02107-DGC Document 22 Filed 12/30/22 Page 3 of 13

TABLE OF CONTENTS
TABLE OF CONTENTS... cccceccscssssccssssscescseessecssssesssssssessssscsssssesesssssssereeeseeeeenees i
TABLE OF AU THORT TIES sissscscsnesrssennnsnnsssarscnaumneannamsensavaesenecanenvesenssennrsens il
INTRODUCTION 6carcssscvsssassane sans cnstensies cennaniciin stv naveancnis ans mao ascend iennaassammenemannenen 1

ARGUMENT

I. PLAINTIFF’S COMPLAINT IS SUBJECT TO RULE 12(b)(6)
DISSMISSAL ..... ce ceeccessecesscssescssscssscsssessescssssssssesssceessessscsaeseseeeessesenees 1

Il. | PLAINTIFF’S COMPLAINT IS SUBJECT TO DISSMISSAL
PURSUANT TO THE POLITICAL QUESTION

DOCTRINE pcssnssonscenssnsxeannsumscannarenassanaemannronnannccaminmommarensnenerscunons 4
CONCLUSION 0 iis ics ccas casas stata onniances cece can anes 2a aeons aeReRoNENR AREER KEOTE 6
CERTIFICATE OF SER VICE... rccntesencenessschs iassinisabsiniaiaee ana nR NTN 7

ili

Case 2:22-cv-02107-DGC Document 22 Filed 12/30/22 Page 4 of 13

TABLE OF AUTHORITIES

Cases Page(s)
Bagnell v. Broderick

38 U.S. (13 Pet.) 436, 450 (1839) oo. eccssccesecsecseesseeeseeseeeseeeeecaeeeseeaeeeeeeseeees 2
Baker v. Carr

BOF Li. LEG, LPB TLIC) conccemcmacesnsseemnemnansamnennnencsna sence mesmtnemnneneuerinien 4
Cal. Coastal Comm’n v. Granite Rock Co.

450 US. S72, 599-94 (1ORT) cssissscssisssccrsincnsnasansacrsacssccsscinscctsceauaseasasacsasensaansd 5
Corrie v. Caterpillar, Inc.

503 F.3d 974, 977, 982 (Oth Cir.2007) oo. ceeescesccsscsseceeeneeeseeseeesecseeeseeeeeeeeaeens 5
DaimlerChrysler Corp. v. Cuno

ae Le ety OOS (UNS New cet semen mcmama 4
Hospital Bldg. Co. v. Rex Hospital Trustees

425 US. 758, 740 (1976) cscs masemanccannanranncras cvs mrcoannenaviens oxmmnaunmenemanaanns 3
Jenkins v. McKeithen

395 U.S. 411, 421, reh’g denied, 396 U.S. 869 (1969) oe eeeeeeene cee ee 3
Massachusetts v. EPA

549 U.S. 497, 516 (2007) ..eceeeeecseescesecscsseeesecssecseeeeeeeseceaeeeeseseneeeneeseee eeees A
Padilla v. Yoo

G7> Foad FS6, For (Cit, UZ) cmssxexmamccseneeccsmmaucnneemcecn 2 ee ex 3

Saldana v. Occidental Petroleum Corp.
774 B.3d 544, 551 (9th Cit. 201A) ...ccinssrssoncssnsssasecnsscttscannacsssncainisasa sae aaee 5

Schlesinger v. Reservists Comm. to Stop the War
A418 U.S. 208, 215 (1974) oe eecececseceseeteeeeeeeseeeseeeseeeeeeseeeaeesseesseseeenseene ene A

Schneider v. California Dept. of Corr.
151 F.3d 1194, 1197 n.1 (Oth Cir. 1998) wee eeeeeseeteeeseeeeeeeeseereeeee cones 3

Case 2:22-cv-02107-DGC Document 22 Filed 12/30/22 Page 5 of 13

Wilcox v. McConnel
38 U.S. (13 Pet.) 498, S17 C1830) ....acncreecccorenccsndssnesntinatisntsansidasccaaciniases as aes 2

Statutes

U.S. Constitution

PAI IM, estes  mersseesenen comncairn mers smaccsionens sstanen actietetar enemas DONERNceeeRSONaNSnN ae A
Article TV, § 3, CIAUSG 2. vsisssinssssccsaccscmnenscssacanazanssia conan cance caress 64565 wid
Article VI, Clause 2...........ccccccccesecsessssssssesscssseeseccssceeeeceeeceeeeeeeesesssesssnsnnees eeees 2

Federal Rules of Civil Procedure

Rule 12(b)(6) cscccssssssssssssssscscssssssssesessssssssssssssssessssssssssseseessssessssssssseee 1s 1,3,5

Case 2:22-cv-02107-DGC Document 22 Filed 12/30/22 Page 6 of 13

MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
INTERVENORS’ MOTION TO DISMISS PLAINTIFF’S COMPLAINT

INTRODUCTION

Plaintiff seeks Article III intervention by this Court, which if granted, would
condone the continued commission of a multiplicity of crimes involving the use of
federal lands entrusted to the care of Plaintiffs officers and employees, to the
detriment of the People of the United States, including the State of Arizona.

Plaintiff does not allege, nor even direct this Court’s attention to a law by
Congress, or a ruling of the Supreme Court, that has approved or sanctioned the use
of federal public lands for the commission of a multiplicity of crimes that arguably
affects all citizens of the United States.

For these reasons and those detailed below, Plaintiff's complaint must be
dismissed with prejudice for failure to state a cognizable claim and on an addition
ground pursuant to the “political question doctrine”.

ARGUMENT
I. Plaintiff?s Complaint Is Subject To Rule 12(b)(6) Dismissal.

The Motion To Intervene is hereby incorporated herein by reference as if set
forth verbatim herein.

The issue is not the ownership of federal public property. Rather the issue is
whether the Constitution has expressly given to Congress powers which the

President and his subordinates may imply to include power and authority to use

1

Case 2:22-cv-02107-DGC Document 22 Filed 12/30/22 Page 7 of 13

Federal lands to aid and abet a “criminal nuisance” that is responsible for a
multiplicity of Federal and State crimes affecting the public health and safety of the
People of the United States.

Thus, Plaintiffs reliance on the Property Clause, Article IV, Section 3,
Clause 2 and the Supremacy Clause, Article VI, Clause 2 is misplaced and
misguided given the fact that the dispositive facts are not capable of dispute.

Plaintiff's officers and employees were using federal lands to commit a
multiplicity of crimes which affected the jurisdictional sovereignty of the Several
States, and which caused Arizona to spring into action. Rather than prosecute
Plaintiffs officers and employees for their crimes under State law, Arizona ended
the crime spree with the use of “hundreds of double-stacked multi-ton shipping
containers”. Complaint at 1, paragraph 2.

No statute enacted by Congress vested officers and employees of the United
States, including President Biden, with power to commit the crimes which forced
Arizona to deploy “shipping containers” to stop the crime wave.

Similarly, the Supreme Court has never construed the Property Clause in a
manner that would permit Plaintiffs officers and employees, including President
Biden, to commit crimes threatening the public’s health and safety. Indeed, a long
line of cases are silent as to such power—from Bagnell v. Broderick, 38 U.S. (13

Pet.) 436, 450 (1839) and Wilcox v. McConnel, 38 U.S. (13 Pet.) 498, 517 (1839), to

Case 2:22-cv-02107-DGC Document 22 Filed 12/30/22 Page 8 of 13

Cal. Coastal Comm’n v. Granite Rock Co., 480 U.S. 572, 593-94 (1987) (applying
traditional preemption analysis to a question of whether state environmental laws
apply to a private company utilizing an unpatented mining permit on federal land).

A Rule 12(b)(6) Motion tests the legal sufficiency of the claim or claims
stated in the Complaint. “The focus of any Rule 12(b)(6) dismissal...is the
complaint.” Schneider v. California Dept. of Corr., 151 F.3d 1194, 1197 n.1 (9th
Cir. 1998).

In considering a motion to dismiss for failure to state a claim, the court must
accept as true the allegations of the complaint in question, Hospital Bldg. Co. v. Rex
Hospital Trustees, 425 U.S. 738, 740 (1976), construe the pleading in the light most
favorable to the party opposing the motion, and resolve all doubts in the pleader’s
favor. Jenkins v. McKeithen, 395 U.S. 411, 421, reh’g denied, 396 U.S. 869 (1969);
Padilla v. Yoo, 678 F.3d 748, 757 (9th Cir. 2012).

Plaintiff fails to inform this Court of the source of its authority to permit its
officers and employees, including President Biden, to criminally conspire to use
federal public lands to commit, and or aid and abet, the commission of a multiplicity
of crimes involving human and drug trafficking, homicides, including the murder of
Democrat Committee Staffer Seth Rich; sexual assaults; weapons charges; general
assaults; kidnappings; thefts; and robberies. The Complaint must be dismissed for

failure to state a claim and the “political question doctrine”.

Case 2:22-cv-02107-DGC Document 22 Filed 12/30/22 Page 9 of 13

II. _=Plaintiff’s Complaint Is Subject To Dismissal Pursuant To the “Political
Question Doctrine”.

The Political Question Doctrine prevents courts from deciding issues
assigned to the Executive or Legislative branches of the U.S. government, even
where other justiciability requirements, such as standing, ripeness, and mootness,
would otherwise be met. Baker v. Carr, 369 U.S. 186, 198-99 (1962) (discussing
difference between jurisdiction and appropriateness of the subject matter for judicial
consideration, known as justiciability); DaimlerChrysler Corp. v. Cuno, 547 U.S.
332, 352 (2005) (The doctrines of mootness, ripeness, and political question all
originate in Article III’s ‘case’ or ‘controversy’ language, no less than standing
does.).

In Baker v. Carr, the Supreme Court identified six factors relevant to the
political question doctrine. Baker, 369 U.S. at 217. See also Schlesinger v.
Reservists Comm. to Stop the War, 418 U.S. 208, 215 (1974) ([T]he presence of a
political question suffices to prevent the power of the federal judiciary from being
invoked by the complaining party.).

The Supreme Court has stated that, for purposes of Article III, § 2 of the
Constitution, no justiciable ‘controversy’ exists when parties seek adjudication of a
political question. Massachusetts v. EPA, 549 U.S. 497, 516 (2007).

A “discriminating” analysis of Baker’s six factors means the Complaint is not

susceptible to judicially manageable standards under any of the six factors given the

4

Case 2:22-cv-02107-DGC Document 22 Filed 12/30/22 Page 10 of 13

fact that the Complaint’s political questions are so inextricably tied to the case as to
divest the court of jurisdiction to grant the relief requested. Saldana v. Occidental
Petroleum Corp., 774 F.3d 544, 551 (9th Cir. 2014), citing Corrie v. Caterpillar,
Inc., 503 F.3d 974, 977, 982 (9th Cir.2007).

Citing Corrie, 503 F.3d at 984, the Ninth Circuit in Saldana further found
that resolving the suit would “necessarily require us to look beyond the lone
defendant in this case and toward the foreign policy interests and judgments of the
United States government itself.” Saldana, 774 F.3d at 552.

The same is true here. Plaintiff has authored a complaint that is loaded with
political questions of many varieties. Resolving the complaint, like the cases
involving Corrie and Saldana, would require the Court to look beyond the Arizona
Defendants and toward the foreign policy interests and judgments of the United
States government itself, and the policies of United States permitting its officers and
employees, including President Biden, to use federal public lands to maintain a
“criminal nuisance” in violation of Arizona’s laws and State sovereignty and the
sovereignty and powers reserved to the People in the Tenth Amendment.

To state differently, Plaintiff, by filing its complaint, incriminates its officers
and employees with its allegations. These allegations, if taken as true, would
necessarily require this Court to look beyond Plaintiff and into the criminal conduct

of Plaintiff’s officers and employees, including President Biden, that caused

Case 2:22-cv-02107-DGC Document 22 Filed 12/30/22 Page 11o0f 13

Arizona to abate the crime spree involving MS-13 gang members and others, with
the use of “hundreds of double-stacked multi-ton shipping containers”’.
Il. CONCLUSION.

For the above reasons, this Court should grant Intervenors-Defendants’
Motion to Dismiss for failure to state a claim and on the “political question
doctrine”.

Respectfully submitted this 25" day of December 2022.

manuel Wel ray.
Emanuel McCray 7

2700 Caples Street

P.O. Box 3134

Vancouver, WA 98668

(564) 208-7576
emanuel.mccray@hotmail.com

Case 2:22-cv-02107-DGC Document 22 Filed 12/30/22 Page 12 of 13

CERTIFICATE OF SERVICE

I hereby certify that on the 26th day of December 2022, I mailed a copy of

the foregoing document, postage prepaid, to all parties addressed as follows:

Anni Lori Foster
Office of the Governor
1700 W Washington St.
Phoenix, AZ 85007

Brett William Johnson

Charlene A Warner

Colin Patrick Ahler

Ryan James Regula

Snell & Wilmer LLP

1 E Washington St., Ste. 2700
Phoenix, AZ 85004

Attorneys for Defendant Douglas A.
Ducey

Mark Brnovich, Attorney General of the
State of Arizona

Office of the Attorney General

2005 N. Central Ave

Phoenix, AZ 85004-2926

Attorney for Defendant State of Arizona

Allen Clark

Director of the Arizona Division of
Emergency Management

Arizona Department of Emergency and
Military Affairs

5636 E. McDowell Road

Phoenix, AZ 85008

Arizona Department of Emergency and
Military Affairs

5636 E. McDowell Road

Phoenix, AZ 85008

Major General Kerry L. Muehlenbeck
Arizona Department of Emergency and
Military Affairs

5636 E. McDowell Road

Phoenix, AZ 85008

ANDREW A. SMITH
c/o United States Attorney’s Office
201 Third Street, N.W., Suite 900

s! P.O. Box 607

Albuquerque, NM 87103

TYLER M. ALEXANDER
Natural Resources Section
PO Box 7611

Washington, DC 20044-7611

SHAUN M. PETTIGREW

c/o NOAA, Damage Assessment
7600 Sand Point Way, NE
Seattle, WA 98155

Attorneys for Plaintiff

Chanuk Whe nay.

Emanuel McCray 7%

.S. POSTAGE
$9.90

913021226172258 &
2
oa
2

2s
11486725

PRIORITY MAIL
FLAT RATE ENVELOPE

PRIORITY MAIL®

aan

—_a__

=m

shirred

EMANUEL MCCRAY
PO BOX 3134
VANCOUVER WA 98668-3134

EXPECTED DELIVERY DAY: 12/30/22

SHIP
TO:
DISTRICT COURT

2 401 W WASHINGTON ST
PHOENIX AZ 85003-2117

USPS TRACKING® NUMBER

MMI

9505 5066 7171 2360 7826 95
ES

To schedule free Package Pickup,
scan the QR code,

i

PS00001000014

ll

EP14F May 2020
OD: 12 1/2x9 1/2

USPS.COM/PICKUP

PRESS FIRMLY TO SEAL POSTAGE REQUIRED
PRIORITY? . |
‘ EMANUEL MCCRAY
M A | L FROM: 2700 Caples Avenue
P.O. Box 3134

; Vancouver, WA 98668

rm is required. ag ve
gAece wr
s exclusions see “ees N
y and limitations of Wrage.
TO:
| CLERK OF COURT
| U.S. District Court

| District of Arizona -
401 W. Washington St., Suite 130, SPC 1
' Phoenix, AZ 85003-2118

and Is provided solely for use in sending Priority Mail® and Priority Mail International® shipments.

Misuses mav haa vinlatinn af fadaral law Thic nactana le nat far mnenia EDIAL ANIC Dantal Onninn: bine AANA: All ctabdn annnn ie t

This packaging is the property of the U.S. Postal Service®
